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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                    :    ORDER
2020 Demonstrations                                                 20 Civ. 8924 (CM) (GWG)
                                                               :
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GABRIEL W. GORENSTEIN, United States Magistrate Judge

        The Court issues this order with respect to Docket ## 369, 370, and 374.

Docket # 369

        The plaintiffs assert in Docket # 369 that defendants failed to comply with the Court’s
specific directive (Docket # 359) that the City either complete document production as to prior
protest discovery by January 28, 2022, or “serve on plaintiffs on that date a detailed sworn
statement from an individual with personal knowledge of the search describing all efforts made
to respond to the request, explaining why the January 28, 2022, deadline was impossible to meet,
and stating when the documents will be produced.” (Docket # 359). Incredibly, the City’s
response to the plaintiff’s letter (Docket # 381) does not address this accusation and thus gives
no explanation of why it did not at least comply with the requirement of serving the sworn
statement (or seek an extension of the time to do so). Moreover, it appears that the City still has
not complied with the Court’s Order to provide the sworn statement. Court orders are
mandatory, not precatory. A conference will be held to discuss why the City should not be
sanctioned pursuant to Fed. R. Civ. P. 37(b) for its failure to comply with the Court Order
reflected in Docket # 359 and to address the remaining issues raised in Docket # 369. The
conference shall take place on February 11, 2022, at 10:30 a.m. The attorneys should use the
dial-in number they were previously provided. The public may listen to the conference by
dialing 877-810-9415 and using access code: 4086346.

Docket ## 370 and 374

        The Court’s Individual Practices are clear that any opposition to a discovery application
must be filed within two business days. The City is well aware of this deadline as they have
frequently sought extensions of this deadline and have obtained them on occasion over plaintiffs’
objection. The Court is in receipt of two applications to which the City has not timely responded
and for which they have sought no extension. The Court deems these applications (Docket ##
370 and 374) unopposed. Plaintiffs are directed to supply a proposed order at their earliest
convenience as to each application to effectuate the relief requested. The proposed orders shall
be supplied in time to be discussed at the conference to be held on February 11, 2022, at 10:30
a.m..

        With respect to this proceeding, the Court will record the proceeding for purposes of
transcription in the event a transcript is ordered. However, any other recording or dissemination
of the proceeding in any form is forbidden. Only one attorney for plaintiff and one attorney for
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defendant will be permitted to address the Court with respect to any dispute. When addressing
the Court, counsel must not use a speakerphone. Each attorney is directed to ensure that all other
attorneys on the case are aware of the oral argument date and time. In addition, any requests for
an adjournment must be made in compliance with Judge Gorenstein’s rules (available at:
https://nysd.uscourts.gov/hon-gabriel-w-gorenstein).


       SO ORDERED.

Dated: February 7, 2022
       New York, New York
